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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                               §
                                                     §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                           §       Chapter 11 (Subchapter V)
                                                     §
         Debtor.                                     §

                                   NOTICE OF HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      A hearing (the “Hearing”) is set for November 21, 2022, at 2:00 p.m. (prevailing
Central Time) before the Honorable Christopher M. Lopez, United States Bankruptcy Judge, at
the United States Bankruptcy Court for the Southern District of Texas, Courtroom 401, 515 Rusk,
Houston, TX 77002 (the “Court”), to consider the following matters:

         EMERGENCY MOTION FOR ENTRY OF ORDER AUTHORIZING DEBTOR
         TO ENTER INTO FULFILLMENT AGREEMENT

         EMERGENCY MOTION SEEKING ENTRY OF AN ORDER AUTHORIZING
         THE DEBTOR TO ENTER INTO A FINANCIAL SERVICES AGREEMENT
        2.     Parties may attend the Hearing in person or electronically. Audio communication
will be by use of the Court’s dial-in facility. You may access the facility at (832) 917-1510. Once
connected, you will be asked to enter the conference room number. Judge Lopez’s conference
room number is 590153. Video communication will be by use of the GOTOMEETING platform.
Connect via the free GoToMeeting application or click the link on Judge Lopez’s homepage. The
meeting code is “JUDGELOPEZ”. Click the settings icon in the upper right corner and enter your
name under the personal information setting.
       3.      Parties are encouraged to review the Court’s procedures for telephonic appearances
located on the Court’s website at: https://www.txs.uscourts.gov/content/united-states-bankruptcy-
judge-christopher m lopez
        4.      The Court has invoked the protocol outlined in General Order 2020-4, as invoked
by General Orders 2010 and 2020-10a and extended by General Order 2020-11. These orders may
be found at: https://www.txs.uscourts.gov/bankruptcy/genord Therefore, all persons may appear
electronically via audio and video at the Hearing using the Court’s electronic conference systems.
       5.     Any exhibit offered by the Debtor will be filed on the Court’s docket. Additionally,
the Debtor may have demonstrative exhibits to aid in its presentation to the Court, copies of which
may be obtained by any party by sending a request to the undersigned counsel to the Debtor at the
email addresses listed below.
       6.      If any party wishes to offer exhibits, these exhibits should be filed with the Clerk
of the Court using the Court’s CM/ECF system. Each exhibit should be filed as a separate
attachment to an Exhibit List in compliance with Bankruptcy Local Rule 9013 and General Order
2020-04.
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       7.      Witnesses presented by the Debtor may appear in person or via audio and video
connection. Any person wishing to examine the witness will be permitted to do so during the
hearing via audio and/or video, subject to approval of the Court.
       Respectfully submitted this November 16, 2022.

                                            THE LAW OFFICES OF RAY BATTAGLIA, PLLC.
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                                            San Antonio, Texas 78218
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                                            By: /s/ Raymond W. Battaglia
                                                  Raymond W. Battaglia
                                                  Texas Bar No. 01918055

                                             ATTORNEYS FOR THE DEBTOR IN
                                             POSSESSION




                                 CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF
system, as set forth below. I further certify that it has been transmitted by first class mail on
November 16, 2022, to the parties on the attached service list


                                                    /s/ Raymond W. Battaglia
                                                    Raymond W. Battaglia




NOTICE OF HEARING                                                                        Page 2 of 2
